                Case 5:22-cr-00105-BLF Document 29 Filed 08/17/22 Page 1 of 3



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     Attorneys for Defendant
12   SCOTT SHAW

13                       IN THE UNITED STATES DISTRICT COURT

14                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                    SAN JOSE DIVISION

16
     UNITED STATES OF AMERICA,                       No. CR 22-00105-BLF
17
                   Plaintiff,                        STIPULATION TO MODIFY
18         v.                                        CONDITIONS OF RELEASE RE:
                                                     TRAVEL; [PROPOSED] ORDER
19
     SCOTT SHAW,
20
                   Defendant.
21

22

23
           Defendant Scott Shaw (“Shaw”), by and through his counsel Sam J. Polverino
24
     and Jeremy D. Blank, and the Government, represented by AUSA Michael Pitman,
25
     hereby stipulate and respectfully request that the Court modify Mr. Shaw’s

                                                 1

     CASE NO. CR 22-00105-BLF
     STIPULATION TO MODIFY CONDITIONS OF RELEASE RE: TRAVEL; [PROPOSED] ORDER
              Case 5:22-cr-00105-BLF Document 29 Filed 08/17/22 Page 2 of 3



1    conditions of pretrial release to allow him to traverse the Eastern District of
2    California en route to the Northern District of California for meetings with his

3
     counsel and for appearances before this Court.
           Mr. Shaw resides in Chimacum, Washington, a distance of almost 900 miles
4
     from this Court’s chambers. Chimacum is the town where Mr. Shaw grew up, and
5
     he is currently living in an RV on the farm where he grew up. He intends to drive
6
     that RV from his home in Washington to the Northern District for upcoming court
7    appearances and for meetings with his counsel. However, in order for him to drive
8    from his home District (the Western District of Washington) to this District via
     Interstate 5 (far and away the most efficient route), he would necessarily transit the
9
     Eastern District of California, which this Court’s conditions of release preclude him
10
     from entering. Accordingly, the parties make the instant request.
11
           Mr. Shaw is not currently being supervised by Pretrial Services; as such, that
12   office has not been consulted regarding the instant request.
13         IT IS SO STIPULATED.

14
     Dated: August 17, 2022                          s/ Sam J. Polverino
15
                                                     Sam J. Polverino
16
     Dated: August 17, 2022                          s/ Jeremy D. Blank
17                                                   Jeremy D. Blank
                                                     Attorneys for Defendant
18                                                   Scott Shaw
19
     Dated: August 17, 2022                          s/ Michael Pitman
20                                                   Michael Pitman
                                                     Assistant United States Attorney
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     CASE NO. CR 22-00105-BLF
     STIPULATION TO MODIFY CONDITIONS OF RELEASE RE: TRAVEL; [PROPOSED] ORDER
              Case 5:22-cr-00105-BLF Document 29 Filed 08/17/22 Page 3 of 3



1                                     [PROPOSED] ORDER
2
           GOOD CAUSE APPEARING, upon the parties’ stipulation, IT IS HEREBY
3    ORDERED that the defendant’s pretrial release conditions are modified to permit
4    the defendant to transit the Eastern District of California en route to meetings with

5
     his counsel and appearances before this Court.
           All other conditions to remain in full effect.
6
           IT IS SO ORDERED.
7

8    Dated: August ________, 2022
                                                     Hon. Nathanael Cousins
9
                                                     UNITED STATES MAGISTRATE JUDGE
10

11
                                  CERTIFICATE OF SERVICE
12
           I hereby certify that I electronically filed the foregoing with the Clerk of the
13
     Court for the United States District Court for the Northern District of California by
14
     using the CM/ECF system on August 17, 2022. I further certify that all
15
     participants in the case are registered CM/ECF users and that service will be
16   accomplished by the CM/ECF system
17         I certify under penalty of perjury that the foregoing is true and correct.

18
     Executed on August 17, 2022.
19
                                                     s/ Jeremy D. Blank
20                                                   Jeremy D. Blank
21

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     CASE NO. CR 22-00105-BLF
     STIPULATION TO MODIFY CONDITIONS OF RELEASE RE: TRAVEL; [PROPOSED] ORDER
